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                       IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF GEORGIA
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                                  SAVANNAH DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,

V.                                                        Criminal Action No: 4;19CR66

DEANNA PARKER,

       Defendant.




                                         ORDER


       This matter is before the Court on the Motion for Leave of Absence by Jennifer Leigh

Ozer, counsel for Defendant, for the dates of October 16, 2019 through October 21, 2019. (Doc.

315.) After careful consideration said Motion is GRANTED.


       SO ORDERED      , this 2^ay of August, 2019.

                                                     IRISTOPHER L. RAY
                                                   MAGISTRATE JUDGE
                                                   SOUTHERN DISTRICT OF GEORGIA
